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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MILDRED B. MENDELSON,
Plaintiff,

 

ORDER
v.
20 CV 2583 (VB)
POLICE OFFICER JONATHAN J. EVANS,
POLICE OFFICER GREGORY E. WALZ, and
TOWN OF POUND RIDGE,
Defendants. :
X

 

As discussed at a conference held today and attended by counsel for all parties, it is
HEREBY ORDERED:

1. Astatus conference is scheduled for November 17, 2021, at 2:30 p.m., to
proceed by telephone. At the time.of the scheduled conference, counsel shall attend by calling
the following number and entering the access code when requested:

Number: (888) 363-4749 (toll-free) or (215) 446-3662
Access Code: 1703567

2. At this conference, the parties shall be prepared to discuss (i) whether a motion
for summary judgment will be filed or if, instead, plaintiff will withdraw the Monell claim and
state law claims, and the Court should set a trial date, and (ii) whether the parties consent to
conduct all proceedings in this case, including trial, the entry of final judgment, and all post-trial
proceedings, in front of a magistrate judge.

 

Dated: November 3, 2021
White Plains, NY
SO ORDERED: .

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Vincent L. Briccetti
United States District Judge

 

 

 
